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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


 STATE OF NEW YORK,

                                 Plaintiff,                    No. 20 Civ. 1127 (JMF)
              -v-

 CHAD F. WOLF, in his official capacity as Acting
 Secretary of Homeland Security, et al.,

                                 Defendants.


 R. L’HEUREUX LEWIS-MCCOY et al., on behalf of
 themselves and all similarly situated individuals,
                                                               No. 20 Civ. 1142 (JMF)
                                   Plaintiffs,
                                                               [PROPOSED] STIPULATION
              -v-                                              AND ORDER
 CHAD WOLF, in his official capacity as Acting
 Secretary of Homeland Security, et al.,

                                  Defendants.


       WHEREAS, on February 5, 2020, the Acting Secretary of Homeland Security advised the

New York State Department of Motor Vehicles that New York residents would no longer be

eligible to enroll or re-enroll in U.S. Customs and Border Protection’s (“CBP’s”) Trusted Traveler

Programs, and that the export of New York-titled vehicles would be delayed and costlier (the “TTP

Decision”);

       WHEREAS, the State of New York initiated New York v. Wolf, No. 20 Civ. 1127 (JMF)

(S.D.N.Y.), and a number of individuals representing a now-certified class of New York residents

initiated Lewis-McCoy v. Wolf, No. 20 Civ. 1142 (JMF) (S.D.N.Y.), challenging the TTP Decision

under the Administrative Procedure Act and the United States Constitution;
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        WHEREAS, on July 23, 2020, the Department of Homeland Security announced the

rescission of the TTP Decision;

        WHEREAS, on October 13, 2020, the Court issued an order vacating and remanding the

TTP Decision, and directing the parties to confer and submit a joint letter addressing whether there

is a need or basis for additional relief;

        WHEREAS, in a letter dated October 20, 2020, plaintiffs expressed their intention to seek

further relief from the Court, and sought an expedited briefing schedule on their anticipated

application unless “Defendants can state that they will not re-institute a ban on Trusted Traveler

Program enrollment before this Court has had an opportunity to consider Plaintiffs’ request for

injunctive relief”; and

        WHEREAS, on October 21, 2020, the Court entered an order adopting the plaintiffs’

briefing schedule and inviting the parties to modify that schedule if defendants “would provide

Plaintiffs with the assurances they seek pending a final ruling” on plaintiffs’ anticipated

application;

        NOW, THEREFORE, IT IS STIPULATED AND AGREED, by and between the parties,

as follows:

        1.         CBP will not re-institute a ban on Trusted Traveler Program enrollment for New

York residents before this Court has had an opportunity to consider plaintiffs’ request for

injunctive relief.

        2.         The parties’ briefing schedule on plaintiffs’ anticipated application shall be

amended as follows, upon the Court’s entry of this stipulation:

               •   By November 13, 2020, plaintiffs will file their motion for additional relief.

               •   By December 7, 2020, defendants will file an opposition to plaintiffs’ motion.




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            •   By December 14, 2020, plaintiffs will file any reply in support of their motion.

       3.       This stipulation contains the entire agreement between the parties, and any

statements, representations, promises, agreements, or negotiations, oral or otherwise, between the

parties that are not included herein are of no force or effect.

       4.       If not approved and entered by the Court, this stipulation shall be null and void,

with no force or effect.

       5.       The stipulation may be executed in one or more counterparts.

Dated: October 23, 2020                                Dated: October 23, 2020
       New York, New York                                     New York, New York

       LETITIA JAMES                                              AUDREY STRAUSS
       Attorney General of the State of New York                  Acting United States Attorney for
                                                                  the Southern District of New York


By:    /s/ Elena Goldstein                             By:        /s/ Zachary Bannon
       ELENA GOLDSTEIN                                            ZACHARY BANNON
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Attorneys for Plaintiff the State of New York                     Attorney for Defendants




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Dated: October 26, 2020
       New York, New York


By:    /s/ Antony P.F. Gemmell
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Attorneys for the Class-Action Plaintiffs


SO ORDERED:

Dated: New York, New York
       _____________, 2020


________________________________________________
THE HONORABLE JESSE M. FURMAN
UNITED STATES DISTRICT JUDGE




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